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                                                                                             r\~P. .A~, a.

                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK


     LOUISEITE GEISS, KA THERINE                            Case No. l 7-cv-9SS4 (AKH)
     KENDALL, ZOE BROCK, SARAH ANN
     THOMAS (a/k/a SARAH ANN MASSE),
     MELISSA SAGEMILLER, and
     NANNETTE KLATT, individually and on
     behalf of all others similarly situated,               Hon. Alvin K. Hellersti::in

                                        Plaintiffs,
                          v.                                              ..:..===
                                                                     i I USDC  SDNY
                                                                                    ======:.:-·.-;,
                                                                                                  '
     THE WEINSTEIN COMPANY                                           11
     HOLDINGS, LLC, MIRAMAX, LLC,                                     DOCUMENT             II
     MIRAMA X FILM CORP., MIRAMAX                                     ELECTRONICALLY FILED:.
     FILM NY LLC, HARVEY WEINSTEIN,                                                        l.

     ROBERT WEINSTEIN, DIRK ZIFF, TIM                                 DOC#:          -    !·
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     SARNOFF, MARC LASRY, TARAKBE;N                                   nATEFrLEn:
     AMMAR, LANCE MAEROV, RICHARD                                                           r ~       I:
     KOENIGSBERG, PAUL TUDOR JONES,
     JEFF SACKMA N, JAMES DOLAN,
     MIRAMAX DOES 1-10, and JOHN DOES
     1..so, inclusive,

                                     Defendants.


     NOTICE OF VOLUNT ARY DISMISSAL WITHOU T PREJUD ICE OF DEFEND ANTS
                         MIRAMAX FILM CORP. AND MIRAMAX, LLC


           Pursuant to Fed. R. Civ. P. 4l(a)(l)(A ), Plaintiffs Louisette Geiss, Katherine Kendall,

 Zoe Brock, Sarah Ann Thomas, Melissa Sagemiller, and Nannette Klatt voluntarily dismiss their

 claims against Miramax Film Corp. and Miramax, LLC without prejudice. Voluntary dismissal

 of Plaintiffs' claims is appropriate given that no party has served an answer or motion for

 summary judgment. This notice does not affect Plaintiffs' claims against any other defendant,

 including Miramax Film NY, LLC and Miramax Does 1-10.




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 Date: June 4, 2018                Respectfully submitted,



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